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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                     RELATED CASE ORDER

        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge
assigned to the earliest filed case below that bears my initials, I find that the more recently filed
case(s) that I have initialed below are related to the case assigned to me, and such case(s) shall
be reassigned to me. Any cases listed below that are not related to the case assigned to me are
referred to the judge assigned to the next-earliest filed case for a related case determination.

 C 14-05484 EJD          Cung Le et al v. Zuffa, LLC

 C 14-05591 PSG          Vazquez et al v. Zuffa, LLC
                                                                                    EJD
                 I find that the above case is related to the case assigned to me. _________


                                                 ORDER

         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR
Local Rules remain in effect; and any deadlines established in a case management order continue
to govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.




         January 7, 2015
DATED: _______________________                                     By:
                                                                     United States District Judge




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